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   2
                                       UNITED STATES DISTRICT COURT
   3

   4                                  CENTRAL DISTRICT OF CALIFORNIA
   5

   6
        CANCARIBE LIMITED,                            )   Case No. CV-07-4182 GAF (Ex)
   7                                                  )
                         Plaintiff,                   )   JOINT STIPULATION
   8
                   v.                                 )   DISMISSING CLAIMS WITH
   9                                                  )   PREJUDICE
        COBRA INTERNATIONAL, INC.,                    )
  10                                                  )   Judge:    Gary Allen Feess
                         Defendant,                   )
  11
                   and                                )
  12                                                  )
        COBRA INTERNATIONAL, INC.,                    )
  13                                                  )
                         Counterclaim-Plaintiff,      )
  14                                                  )
                   v.                                 )
  15
        CANCARIBE LIMITED,                            )
  16                                                  )
                         Counterclaim-Defendant.      )
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  19                     Cancaribe Limited (“Cancaribe”) and Cobra International, Inc. (“Cobra”)
  20    have executed a Settlement Agreement and General Release (“Agreement and Release”)
  21    for all remaining matters in controversy and have agreed that all remaining claims in this
  22    action should be dismissed with prejudice. Accordingly, counsel for Cancaribe and
  23    Cobra have met and conferred and hereby stipulate, subject to the Court’s approval, that:
  24                     (1)    All of Cancaribe’s claims against Cobra shall be dismissed with
  25    prejudice;
  26                     (2)    All of Cobra’s claims against Cancaribe shall be dismissed with
  27    prejudice;
  28                     (3)    The Court shall retain jurisdiction to resolve any dispute arising out of


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   1    or relating in any way to the Agreement and Release; and
   2                 (4)   Each party shall bear its own costs and attorneys’ fees.
   3

   4                                          Respectfully submitted,
   5    DATED: September 18, 2012                  FOLEY & LARDNER LLP
   6
                                              By: /s/ Kadie M. Jelenchick
   7                                             Kadie M. Jelenchick (admitted pro hac
   8
                                                 vice, Wisconsin Bar No. 1056506)
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  10                                             Milwaukee, Wisconsin 53202-5306
                                                 Telephone: 414.271.2400
  11                                             Facsimile: 414.297.4900
  12                                              Attorneys for Plaintiff and Counterclaim-
                                                  Defendant, CANCARIBE LIMITED
  13

  14
        DATED: September 18, 2012                  OLTMAN FLYNN & KUBLER
  15

  16                                           By: /s/ Francis L. Kubler
                                                   Francis L. Kubler (admitted pro hac vice)
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                                                   E-mail: oltman@bellsouth.net
  18                                               406 Galleria Professional Building
                                                   915 Middle River Drive
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                                                   Fort Lauderdale, FL 33304-3585
  20                                               Telephone: 954.563.4814
                                                   Facsimile: 954.563.1226
  21

  22                                                Attorneys for Defendant and
                                                    Counterclaim-Plaintiff, COBRA
  23
                                                    INTERNATIONAL, INC.
  24

  25
                     Concurrence in the filing of this document has been obtained from Mr.
  26

  27    Kubler, the signatory listed above.
  28


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   1    DATED: September 18, 2012          By: /s/ Kadie M. Jelenchick
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   7
                                               Attorneys for Plaintiff and Counterclaim-
                                               Defendant, CANCARIBE LIMITED
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